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Of Counsel: John $8. Woods, Esq.
Kim D. Parker, Esq. (MD, DC,)

October 4, 2013

CERTIFIED MAIL/RETURN RECEIPT REQUESTED
Ms. Nancy K. Kopp

State of Maryland iE G [= l W l=
Maryland State Treasurer

80 Calvert Street OCT - 9 2013
Annapolis, Maryland 21401

 

 

 

 

 

 

 

. IN
Re: Rye Keisha Jeffers SURANCE DIVISION
Date of Incident: April 19th, 2013

Dear Ms. Kopp:

Please be advised that this firm has been retained to represent Rye Keisha
Jeffers. Please accept this letter as written notice of claim pursuant to Maryland
Tort Claims Act (MTCA) Section 12-101. Et seq of the State Government Article)
and the Local Claims Torts Act (LCTA). Please also see attached Evidence of
Preservation Notices. The facts are as follows:

1. The Claimant’s name and address is:
Rye Keisha Jeffers
Date of Birth iss and
| Social Security Number yygyyg5201
2, Date of Incident: February 5*, 2013
x State Agencies involved: Maryland Transit Administration Police

4. Description of the Accident:

Claimant was seated on the subway platform of the Rogers Station in
Baltimore City with her ear phones on listening to music on her cell phone.
Claimant cell phone began to ring indicating she was receiving a text message.
Claimant’s ring tone is a popular song that plays until she completes a response to
the text message. Claimant proceeded to respond to the text message when she
noticed an MTA officer standing directly in front of her. Claimant removed one of
the ear pieces and asked the officer if she could help her. The officer said it was
against the law to play music without head phones and there was signage stating as
much. Claimant stated she was not playing music, her phone was actually ringing.
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Claimant further advised she was within the limits of the law as she was wearing
head phones. The officer insisted she turn off her phone. Claimant declined and
requested the officer call a supervisor. The Officer declined to do so. Claimant
called 911 and reported the harassing conduct of the Officer. The Officer proceeded
to attempt to place Claimant under arrest by grabbing her by sweatshirt hoody and
twisted it around her neck. Subsequently other Officers arrived and aided Officer
Bailey to arrest Claimant. After being placed in custody, Claimants clothing was in
disarray and her breasts and stomach were exposed. Claimant requested the
Officers fix her clothing before removing her from the Platform. The Officers
refused and walked the Claimant thru the station with her private areas exposed to
the general public. Three (3) female Officers escorted Claimant to the bathroom to
apparently fix her clothing which merely needed to be pulled down to cover her
private areas. The Officers pushed Claimant thru the turnstile took her into the
women bathroom and beat her up by first tripping her to the floor, punching her in
the face and back of the neck and head, stomping and jumping on her leg and ankle.
Claimant suffered injuries to her neck, head, arms, legs and ankle along with severe
psychological trauma. The Claimant is currently in treatment.

5. Amount of damages: $300,000.00
Thank you for your time and consideration. Please feel free to contact me

with any questions or concerns.

V y yours,

Kim Parker, Esq.

Enclosures (1) Demand For Evidence Preservation
 

 

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State of Maryland

Maryland State Treasurer

80 Calvert Street

Annapolis, Maryland 21401

 

ECEIVE

   

 

  

Re: Claimant: Rye Keisha Jeffers INSU
_ Date of Incident: April 19th, 2013 RANCE DIVISION
Issue: Evidence Preservation Letter
To Whom It May Concern:

We have been retained by Rye Keisha Jeffers respecting a claim against the
Maryland Transit Administration Police, and it’s agents. Kindly, forward a copy of this
letter or representation to your insurance company for prompt handling. Do not speak
with our client directly regarding this matter.

REQUEST FOR PRESERVATION OF EVIDENCE

Pursuant to the Federal Rules of Civil Procedure (FRCP), we hereby request and
demand that (hereafter “you”) preserve — and not alter in any way — any evidence
regarding the website or e-mail addresses listed with the above-referenced site. This
request for preservation of evidence includes, but is not limited to, preserving all
photographs, voice mails, e-mails, videotapes, memos, meeting agendas and notes,
investigations, incident reports, security tapes, logs, in/out records, local and long
distance telephone records, bills, statements, expense reports, notes, reports and
interviews.

It should be noted that, the duty to preserve relevant evidence — either paper or
electronic — is triggered when civil litigation is commenced or reasonably anticipated.
Zubulake. Zubulake v. UBS Warburg LLP, 220 F.R.D. 212 (S.D.N.Y. 2003); Sampson v.
City of Cambridge, 251 F.R.D. 172, 181 (D. Md. 2008); PML North America v. Hartford
Underwriters Insurance Co., 2006 U.S. Dist. LEXIS 94456 (E.D. Mich. 2006); Silvestri
v. General Motors, 271 F.3d 583, 589 (4th Cir. 2001).

You should anticipate that much of the information subject to disclosure or
responsive to discovery in this matter is stored on your current and former computer
systems and other media and devices (including personal digital assistants, voice-
messaging systems, online repositories and cell phones).
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Electronically stored information (hereinafter “ESI”) should be afforded the
broadest possible definition and includes (by way of example and not as an exclusive
list) potentially relevant information electronically, magnetically or optically stored as:

« Digital communications (e.g., e-mail, voice mail, instant messaging);

« Word processed documents (e.g., Word or WordPerfect documents and drafts);
« Spreadsheets and tables (e.g., Excel or Lotus 123 worksheets);

« Accounting Application Data (e.g., QuickBooks, Money, Peachtree data files);
* Image and Facsimile Files (e.g., .PDF, . TIFF, .JPG, .GIF images);

* Sound Recordings (e.g.,.WAV and .MP3 files);

* Video and Animation (e.g., AVI and .MOV files);

* Databases (e.g., Access, Oracle, SQL Server data, SAP);

* Contact and Relationship Management Data (e.g., Outlook, ACT!);

¢ Calendar and Diary Application Data (e.g., Outlook PST, Yahoo, blog tools);

¢ Online Access Data (e.g., Temporary Internet Files, History, Cookies);

¢ Presentations (e.g., PowerPoint, Corel Presentations)

¢ Network Access and Server Activity Logs;

¢ Project Management Application Data;

* Computer Aided Design/ Drawing Files; and,

* Back Up and Archival Files (e.g., Zip, .GHO)

ESI resides not only in areas of electronic, magnetic and optical storage media
reasonably accessible to you, but also in areas you may deem not reasonably accessible.
You are obliged to preserve potentially relevant evidence from both these sources of ESI,
even if you do not anticipate producing such ESI.

The demand that you preserve both accessible and inaccessible ESI is reasonable
and necessary. Pursuant to amendments to the Federal Rules of Civil Procedure that
have been approved by the United States Supreme Court (eff. 12/1/06), you must
identify all sources of ESI you decline to produce and demonstrate to the court why such
sources are not reasonably accessible. For good cause shown, the court may then order
production of the ESI, even if it finds that it is not reasonably accessible. Accordingly,
even ESI that you deem reasonably inaccessible must be preserved in the interim so as
not to deprive the plaintiffs of their right to secure the evidence or the Court of its right
to adjudicate the issue.

PRESERVATION REQUIRES IMMEDIATE INTERVENTION

You must act immediately to preserve potentially relevant ESI including, without
limitation, information with the earlier of a Created or Last Modified date on or after
April 19th, 2013 through the date of this demand and concerning:

1. All information pertaining to the events scheduled at the location;

2, All information pertaining to the Client’s injuries;

3. All ESI information which mentions or otherwise states Rye Keisha
Jeffers

4. Other information as may be needed for litigation in this matter.
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5. Copies of all investigative reports;

Adequate preservation of ESI requires more than simply refraining from efforts
to destroy or dispose of such evidence. You must also intervene to prevent loss due to
routine operations and employ proper techniques and protocols suited to protection of
ESI. Be advised that sources of ESI are altered and erased by continued use of your
computers and other devices. Booting a drive, examining its contents or running any
application will irretrievably alter the evidence it contains and may constitute unlawful
spoliation of evidence. Consequently, alteration and erasure may result from your
failure to act diligently and responsibly to prevent loss or corruption of ESI.

Nothing in this demand for preservation of ESI should be understood to diminish
your concurrent obligation to preserve document, tangible things and other potentially
relevant evidence.

SUSPENSION OF ROUTINE DESTRUCTION

You are directed to immediately initiate a litigation hold for potentially relevant
ESI, documents and tangible things, and to act diligently and in good faith to secure and
audit compliance with such litigation hold. You are further directed to immediately
identify and modify or suspend features of your information systems and devices that, in
routine operation, operate to cause the loss of potentially relevant ESI. Examples of such
features and operations include:

- Purging the contents of e-mail repositories by age, capacity or other criteria;

« Using data or media wiping, disposal, erasure or encryption utilities or devices;
* Overwriting, erasing, destroying or discarding back up media;

« Re-assigning, re-imaging or disposing of systems, servers, devices or media;

« Running antivirus or other programs effecting wholesale metadata alteration;

- Releasing or purging online storage repositories;

« Using metadata stripper utilities;

Disabling server or IM logging; and,

» Executing drive or file defragmentation or compression programs.

GUARD AGAINST DELETION

You should anticipate that your employees, officers or others may seek to hide,
destroy or alter ESI and act to prevent or guard against such actions. Especially where
company machines have been used for Internet access or personal communications, you
should anticipate that users may seek to delete or destroy information they regard as
personal, confidential or embarrassing and, in so doing, may also delete or destroy
potentially relevant ESI. This concern is not one unique to you or your employees and
officers. It’s simply an event that occurs with such regularity in electronic discovery
efforts that any custodian of ESI and their counsel are obliged to anticipate and guard
against its occurrence.
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PRESERVATION BY IMAGING

You should take affirmative steps to prevent anyone with access to your data,
systems and archives from seeking to modify, destroy or hide electronic evidence on
network or local hard drives (such as by deleting or overwriting files, using data
shredding and overwriting applications, defragmentation, re-imaging or replacing
drives, encryption, compression, steganography or the like). With respect to local hard
drives, one way to protect existing data on local hard drives is by the creation and
authentication of a forensically qualified image of all sectors of the drive. Such a
forensically qualified duplicate may also be called a bitstream image or clone of the
drive. Be advised that a conventional back up of a hard drive is not a forensically
qualified image because it only captures active, unlocked data files and fails to preserve
forensically significant data that may exist in such areas as unallocated space, slack
space and the swap file.

With respect to the hard drives and storage devices of each of the persons named
below and of each person acting in the capacity or holding the job title named below, as
well as each other person likely to have information pertaining to the instant action on
their computer hard drive(s), demand is made that you immediately obtain,
authenticate and preserve forensically qualified images of the hard drives in any
computer system (including portable and home computers) used by that person during
the period from February 1, 2007 to current date, as well as recording and preserving
the system time and date of each such computer.

Once obtained, each such forensically qualified image should be labeled to
identify the date of acquisition, the person or entity acquiring the image and the system
and medium from which it was obtained. Each such image should be preserved without
alteration.

PRESERVATION IN NATIVE FORM

You should anticipate that certain ESI, including but not limited to spreadsheets
and databases, will be sought in the form or forms in which it is ordinarily maintained.
Accordingly, you should preserve ESI in such native forms, and you should not select
methods to preserve ESI that remove or degrade the ability to search your ESI by
electronic means or make it difficult or burdensome to access or use the information
efficiently in the litigation.

You should additionally refrain from actions that shift ESI from reasonably
accessible media and forms to less accessible media and forms if the effect of such
actions is to make such ESI not
reasonably accessible.

METADATA

You should further anticipate the need to disclose and produce system and
application metadata and act to preserve it. System metadata is information describing
the history and characteristics of other ESI. This information is typically associated with
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tracking or managing an electronic file and often includes data reflecting a file’s name,
size, custodian, location and dates of creation and last modification or access.
Application metadata is information automatically included or embedded in electronic
files but which may not be apparent to a user, including deleted content, draft language,
commentary, collaboration and distribution data and dates of creation and printing. Be
advised that metadata may be overwritten or corrupted by careless handling or
improper steps to preserve ESI. For electronic mail, metadata includes all header
routing data and Base 64 encoded attachment data, in addition to the To, From, Subject,
Received Date, CC and BCC fields.

SERVERS

With respect to servers like those used to manage electronic mail (e.g., Microsoft
Exchange, Lotus Domino) or network storage (often called a user’s “network share”), the
complete contents of each user’s network share and e-mail account should be preserved.
There are several ways to preserve the contents of a server depending upon, e.g., its
RAID configuration and whether it can be downed or must be online 24/7. If you
question whether the preservation method you pursue is one that we will accept as
sufficient, please call to discuss it.

HOME SYSTEMS, LAPTOPS, ONLINE ACCOUNTS AND OTHER ESI
VENUES

Though we expect that you will act swiftly to preserve data on office workstations
and servers, you should also determine if any home or portable systems may contain
potentially relevant data. To the extent that officers, board members or employees have
sent or received potentially relevant e-mails or created or reviewed potentially relevant
documents away from the office, you must preserve the contents of systems, devices and
media used for these purposes (including not only potentially relevant data from
portable and home computers, but also from portable thumb drives, CD-R disks and the
user’s PDA, smart phone, voice mailbox or other forms of ESI storage.). Similarly, if
employees, officers or board members used online or browser-based email accounts or
services (such as AOL, Gmail, Yahoo Mail or the like) to send or receive potentially
relevant messages and attachments, the contents of these account mailboxes (including
Sent, Deleted and Archived Message folders) should be preserved.

ANCILLARY PRESERVATION

You must preserve documents and other tangible items that may be required to
access, interpret or search potentially relevant ESI, including logs, control sheets,
specifications, indices, naming protocols, file lists, network diagrams, flow charts,

instruction sheets, data entry forms, abbreviation keys, user ID and password rosters or
the like.

You must preserve any passwords, keys or other authenticators required to access
encrypted files or run applications, along with the installation disks, user manuals and
license keys for applications required to access the ESI.
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You must preserve any cabling, drivers and hardware, other than a standard 3.5”
floppy disk drive or standard CD or DVD optical disk drive, if needed to access or
' interpret media on which ESI is stored. This includes tape drives, bar code readers, Zip
drives and other legacy or proprietary devices.

PAPER PRESERVATION OF ESI IS INADEQUATE

As hard copies do not preserve electronic searchability or metadata, they are not
an adequate substitute for, or cumulative of, electronically stored versions. If
information exists in both electronic and paper forms, you should preserve both forms.

AGENTS, ATTORNEYS AND THIRD PARTIES

Your preservation obligation extends beyond ESI in your care, possession or
custody and includes ESI in the custody of others that is subject to your direction or
control. Accordingly, you must notify any current or former agent, attorney, employee,
custodian or contractor in possession of potentially relevant ESI to preserve such ESI to
the full extent of your obligation to do so, and you must take reasonable steps to secure
their compliance.

SYSTEM SEQUESTRATION OR FORENSICALLY SOUND IMAGING

Removing ESI systems, media and devices from service and properly
sequestering and protecting them may be an appropriate and cost-effective preservation
step.

In the event you deem it impractical to sequester systems, media and devices, we
believe that the breadth of preservation required, coupled with the modest number of
systems implicated, dictates that forensically sound imaging of the systems, media and
devices is expedient and cost effective. As we anticipate the need for forensic
examination of one or more of the systems and the presence of relevant evidence in
forensically accessible areas of the drives, we demand that you employ forensically
sound ESI preservation methods. Failure to use such methods poses a significant threat
of spoliation and data loss.

By “forensically sound,” we mean duplication, for purposes of preservation, of all
data stored on the evidence media while employing a proper chain of custody and using
tools and methods that make no changes to the evidence and support authentication of
the duplicate as a true and complete bit-for-bit image of the original. A forensically
sound preservation method guards against changes to metadata evidence and preserves
all parts of the electronic evidence, including in the so-called “unallocated clusters,”
holding deleted files.

PRESERVATION PROTOCOLS
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We are desirous of working with you to agree upon an acceptable protocol for
forensically sound preservation and can supply a suitable protocol, if you will furnish an
inventory of the systems and media to be preserved. Else, if you will promptly disclose
the preservation protocol you intend to employ, perhaps we can identify any points of
disagreement and resolve them. A successful and compliant ESI preservation effort
requires expertise. If you do not currently have such expertise at your disposal, we urge
you to engage the services of an expert in electronic evidence and computer forensics.
Perhaps our respective experts can work cooperatively to secure a balance between
evidence preservation and burden that’s fair to both sides and acceptable to the Court.

DO NOT DELAY PRESERVATION

I’m available to discuss reasonable preservation steps; however, you should not
defer preservation steps pending such discussions if ESI may be lost or corrupted as a
consequence of delay. Should your failure to preserve potentially relevant evidence
result in the corruption, loss or delay in production of evidence to which we are entitled,
such failure would constitute spoliation of evidence, and we will not hesitate to seek
sanctions.

Accordingly, we also demand that you preserve all electronic data regarding the
incident and anyone involved in reviewing, investigating or evaluating the incident. Be
advised that we consider electronic data to be a valuable and irreplaceable source of
discoverable information. As you may know, electronic information is subject to
discovery in litigation and is admissible at trial.

Electronic data includes, but is not limited to, originals and all copies of
electronic mail (“e-mail”); activity listings of electronic mail receipts and/or
transmittals; voicemail; audio or video recordings of any kind; computer programs
(whether private, commercial or a work-in-progress); programming notes or
instructions; output resulting from the use of any software program, including word
processing documents, spreadsheets, database files, charts, graphs and outlines;
operating systems; source codes of all types; PIF files; batch files; ASCI files; and all
miscellaneous electronic files and/or file fragments, regardless of the media on which
they are stored and regardless of whether the data resides in an active file, deleted file or
file fragment. Electronic data includes any and all information stored in hard disks,
floppy disks, CD-ROM disks, Bernoulli disks and their equivalents, magnetic tapes of all
kinds and computer chips (including but not limited to EPROM, PROM, RAM and
ROM). Electronic data also includes the file, folder tabs, containers or labels appended
to any storage device containing electronic data.

Until you fully and completely backup all of your electronic data regarding the
incident, we request and demand that you not:

1. Initiate any procedures that would alter any active, deleted or fragmented
electronic data. Such procedures may include, but are not necessarily limited to,
deleting or attempting to delete any electronic information, saving newly created files to
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disks that already contain information, loading new software on such disks or running
data compression or de-fragmentation (optimization) routines on them;

2, Rotate, alter or destroy any media that stores electronic data where such
activity could result in the alteration or loss of any electronic data;

a, Dispose of any media that contains electronic data; and
4. “Write over” any electronic data.
CONFIRMATION OF COMPLIANCE
Please confirm by November 4th, 2013 that you have taken the steps outlined in
this letter to preserve ESI and tangible documents potentially relevant to this action. If
you have not undertaken the steps outlined above, or have taken other actions, please

describe what you have done to preserve potentially relevant evidence.

Thank you in advance for your time and attention to this matter. Awaiting your
response, I am:

Very truly yours,

Kim Parker, Esq.
